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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 MALAIKA LEWIS, et al.,

         Plaintiffs,

         v.                                         Civil Action No. 1:22-cv-03369-RDM

 DISTRICT OF COLUMBIA, et al.,

         Defendants.


                          DEFENDANTS’ MOTION TO DISMISS
                          PLAINTIFFS’ AMENDED COMPLAINT

       Defendants District of Columbia, George Ahrin, Monique Boyd, Diane Brooks, Natalie

Charles, Albert Cipolari, Benjamin Finck, Chad Hambrick, Anthony Hector, Richard Kennedy,

James Koenig, Lashaun Lockerman, Jonathan Matthews, Jermaine Maubry, Stephen Owens,

Benjamin Rubin, and John Wright move to dismiss Plaintiffs’ Amended Complaint with

prejudice under Rule 12(b)(6). The grounds supporting this Motion are set forth in the

accompanying Memorandum. A proposed order is attached. Because the Motion is dispositive,

undersigned counsel did not seek consent to the relief requested. See LCvR 7(m).

Date: January 27, 2023.                            Respectfully Submitted,

                                                   BRIAN L. SCHWALB
                                                   Attorney General for the District of Columbia

                                                   STEPHANIE E. LITOS
                                                   Interim Deputy Attorney General
                                                   Civil Litigation Division

                                                   /s/ Matthew R. Blecher
                                                   MATTHEW R. BLECHER [1012957]
                                                   Chief, Civil Litigation Division, Equity Section

                                                   /s/ Richard P. Sobiecki
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